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                                 UNITED STATES
                     SECURITIES AND EXCHANGE COMMISSION
                                        Chicago Regional Office
                                       175 W. Jackson, Suite 1450
                                           Chicago, IL 60604


DIVISION OF ENFORCEMENT                                              Jake Schmidt
                                                                     Senior Counsel
                                                                     (312) 886-3284
                                                                     schmidtj@sec.gov

August 3, 2017

VIA OVERNIGHT DELIVERY
American Bondholders Foundation, LLC
c/o National Registered Agents, Inc.
160 Greentree Dr., Suite 101
Dover, DE 19904

Re: In the Matter of American Bondholders Foundation, LLC, C-8388

To Whom It May Concern:

        The staff of the United States Securities and Exchange Commission is conducting an
investigation in the matter identified above. The enclosed subpoena has been issued to American
Bondholders Foundation, LLC (“ABF”) as part of this investigation. The subpoena requires ABF
to provide us with documents.

       Please read the subpoena and this letter carefully. This letter answers some questions you
may have about the subpoena. You should also read the enclosed SEC Form 1662. If ABF does
not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this
subpoena. Failure to comply with a court order enforcing this subpoena may result in the court
imposing a fine, imprisonment or both.

Producing Documents

What materials do I have to produce?

       The subpoena requires ABF to provide us the documents described in the attachment to
the subpoena. ABF must provide these documents by September 5, 2017. The attachment to
the subpoena defines some terms (such as “document”) before listing what you must provide.

        ABF should produce each and every document in its possession, custody, or control,
including any documents that are not in its immediate possession but that it has the ability to
obtain. All responsive documents shall be produced as they are kept in the usual course of
business, and shall be organized and labeled to correspond with the numbered paragraphs in the
subpoena attachment. In that regard, documents should be produced in a unitized manner, i.e.,
delineated with staples or paper clips to identify the document boundaries.
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       Documents responsive to this subpoena may be in electronic or paper form. Electronic
documents such as email should be produced in accordance with the attached document entitled
SEC Data Delivery Standards (the “Standards”). If you have any questions concerning the
production of documents in an electronic format, please contact me as soon as possible but in
any event before producing documents. All electronic documents responsive to the document
subpoena, including all metadata, must also be secured and retained in their native
software format and stored in a safe place. The staff may later request or require that you
produce the native format.

        For documents in paper format, you may send the originals, or, if you prefer, you may
send copies of the originals. The Commission cannot reimburse you for the copying costs. If you
are sending copies, the staff requests that you scan (rather than photocopy) hard copy documents
and produce them in an electronic format consistent with the Standards. Alternatively, you may
send us photocopies of the documents in paper format. If you choose to send copies, you must
secure and retain the originals and store them in a safe place. The staff may later request or
require that you produce the originals.

       Whether you scan or photocopy documents, the copies must be identical to the originals,
including even faint marks or print. Also, please note that if copies of a document differ in any
way, they are considered separate documents and you must send each one. For example, if you
have two copies of the same letter, but only one of them has handwritten notes on it, you must
send both the clean copy and the one with notes.

        If you do send us scanned or photocopied documents, please put an identifying notation
on each page of each document to indicate that you produced it, and number the pages of all the
documents submitted. (For example, if Jane Doe sends documents to the staff, she may number
the pages JD-1, JD-2, JD-3, etc., in a blank corner of the documents.) Please make sure the
notation and number do not conceal any writing or marking on the document. If you send us
originals, please do not add any identifying notations.

         In producing a photocopy of an original document that contains post-it(s), notation
flag(s), or other removable markings or attachments which may conceal all or a portion of the
markings contained in the original document, photocopies of the original document both with
and without the relevant post-it(s), notation flag(s), or removable markings or attachments should
be produced.

Do I need to send anything else?

       You should enclose a list briefly describing each item you send. The list should state to
which numbered paragraph(s) in the subpoena attachment each item responds. A copy of the
subpoena should be included with the documents that are produced.

        Passwords for documents, files, compressed archives, and encrypted media should be
provided separately either via email addressed to ENF-CPU@sec.gov, or in a separate cover
letter mailed separately from the data.




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       Please include a cover letter stating whether you believe you have met your obligations
under the subpoena by searching carefully and thoroughly for everything called for by the
subpoena, and sending it all to us.

      Please also provide a narrative description describing what you did to identify and collect
documents responsive to the subpoena. At a minimum, the narrative should describe:

       •   who searched for documents;
       •   who reviewed documents found to determine whether they were responsive;
       •   what sources were searched (e.g., computer files, CDs, DVDs, thumb drives, flash
           drives, online storage media, hard copy files, diaries, datebooks, planners, filing
           cabinets, home office, work office, voice mails, home email, webmail, work email,
           backup tapes or other media);
       •   what third parties, if any, were contacted to obtain responsive documents (e.g., phone
           companies for phone records, brokerage firms for brokerage records); and
       •   where the original electronic and hardcopy documents are maintained and by whom.

       For any documents that qualify as records of regularly conducted activities under Federal
Rule of Evidence 902(11), please complete a business records certification (a sample of which is
enclosed) and return it with the document production.

What if I do not send everything described in the attachment to the subpoena?

        The subpoena requires ABF to send all the materials described in it. If, for any reason –
including a claim of attorney-client privilege – ABF does not produce something called for by
the subpoena, you should submit a list of what ABF is not producing. The list should describe
each item separately, noting:

       •   its author(s);
       •   its date;
       •   its subject matter;
       •   the name of the person who has the item now, or the last person known to have it;
       •   the names of everyone who ever had the item or a copy of it, and the names of
           everyone who was told the item’s contents;
       •   the reason you did not produce the item; and
       •   the specific request in the subpoena to which the document relates.

        If ABF withholds anything on the basis of a claim of attorney-client privilege or attorney
work product protection, you should identify the attorney and client involved. If ABF withholds
anything on the basis of the work product doctrine, you should also identify the litigation in
anticipation of which the document was prepared.

       If documents responsive to this subpoena no longer exist because they have been lost,
discarded, or otherwise destroyed, you should identify such documents and give the date on
which they were lost, discarded or destroyed.



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Where should I send the materials?

       Please send the materials to:

               ENF-CPU
               U.S. Securities and Exchange Commission
               100 F St., N.E., Mailstop 5973
               Washington, DC 20549-5973

        For smaller electronic productions under 10MB in size, the materials may be emailed to
the following email address: ENF-CPU@sec.gov.

        Please also provide a duplicate copy of any document production cover letters to Jake
Schmidt at schmidtj@sec.gov. Additionally, please include the SEC matter number and the name
of the requesting attorney when responding.

Other Important Information

May I have a lawyer help me respond to the subpoena?

        Yes. ABF has the right to consult with and be represented by its own lawyer in this
matter. We cannot give you legal advice.

What will the Commission do with the materials I send and/or the testimony I provide?

      The enclosed SEC Form 1662 explains how we may use the information you provide to
the Commission. This form also has other important information for you. Please read it carefully.

Has the Commission determined that anyone has done anything wrong?

       This investigation is a non-public, fact-finding inquiry. We are trying to determine
whether there have been any violations of the federal securities laws. The investigation does not
mean that we have concluded that anyone has violated the law. Also, the investigation does not
mean that we have a negative opinion of any person, entity or security.

Important Policy Concerning Settlements

        Please note that, in any matter in which enforcement action is ultimately deemed to be
warranted, the Division of Enforcement will not recommend any settlement to the Commission
unless the party wishing to settle certifies, under penalty of perjury, that all documents
responsive to Commission subpoenas and formal and informal document requests in this matter
have been produced.




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I have read this letter, the subpoena, and the SEC Form 1662, but I still have questions. What
should I do?

       If you have any other questions, you may call me at (312) 886-3284. If you are
represented by a lawyer, you should have your lawyer contact me.

                                                    Sincerely,

                                                    /s Jake Schmidt
                                                    JAKE SCHMIDT
                                                    Senior Counsel
                                                    Division of Enforcement

Enclosures:       Subpoena and Attachment
                  SEC Data Delivery Standards
                  SEC Form 1662
                  Background Questionnaire
                  Business Records Certification



cc (with enclosures): Jonna Bianco, 2840 Glasscock Road, Lewisburg, TN 37091-6121




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                                                         SUBPOENA
                           UNITED STATES OF AMERICA
                        SECURITIES AND EXCHANGE COMMISSION
                        In the Matter of American Bondholders Foundation, LLC, C-8388

To:    American Bondholders Foundation, LLC
       c/o National Registered Agents, Inc.
       160 Greentree Dr., Suite 101
       Dover, DE 19904


☒      YOU MUST PRODUCE everything specified in the Attachment to this subpoena to officers of the Securities
       and Exchange Commission, at the place, date and time specified below:
       ENF-CPU, U.S. Securities and Exchange Commission, 100 F St., N.E., Mailstop 5973, Washington, DC
       20549-5973, no later than September 5, 2017 at 4:00 p.m.


☐      YOU MUST TESTIFY before officers of the Securities and Exchange Commission, at the place, date and
       time specified below:



                   FEDERAL LAW REQUIRES YOU TO COMPLY WITH THIS SUBPOENA.
             If you do not comply with this subpoena, the SEC may bring an action in Federal Court to enforce this subpoena.
        Failure to comply with a court order enforcing this subpoena may result in the court imposing a fine, imprisonment, or both.


By:   /s Jake Schmidt                                                  Date:     August 3, 2017
       Jake Schmidt, Staff Accountant
       U.S. Securities and Exchange Commission
       Chicago Regional Office
       175 W. Jackson, Suite 1450
       Chicago, IL 60604

I am an officer of the U.S. Securities and Exchange Commission authorized to issue subpoenas in this matter. The
Securities and Exchange Commission has issued a formal order authorizing this investigation under Section 20(a)
of the Securities Act of 1933 and Section 21(a) of the Securities Exchange Act of 1934.
              NOTICE TO WITNESS: If you claim a witness fee or mileage, submit this subpoena with the claim voucher.
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SUBPOENA ATTACHMENT FOR AMERICAN BONDHOLDERS FOUNDATION, LLC
          In the Matter of American Bondholders Foundation, LLC, C-8388

                                          August 3, 2017

                                            Definitions

As used in this subpoena, the words and phrases listed below shall have the following meanings:

1.     American Bondholders Foundation, LLC means the entity doing business under the name
       American Bondholders Foundation, LLC and/or ABF, including parents, subsidiaries,
       affiliates, predecessors, successors, officers, directors, employees, agents, general
       partners, limited partners, partnerships and aliases, code names, or trade or business
       names used by any of the foregoing.

2.     ABF Advisory, LLC means the entity doing business under the name ABF Advisory,
       LLC and/or ABF Advisory, including parents, subsidiaries, affiliates, predecessors,
       successors, officers, directors, employees, agents, general partners, limited partners,
       partnerships and aliases, code names, or trade or business names used by any of the
       foregoing.

3.     ABF Charities means the entity doing business under the name ABF Charities, including
       parents, subsidiaries, affiliates, predecessors, successors, officers, directors, employees,
       agents, general partners, limited partners, partnerships and aliases, code names, or trade
       or business names used by any of the foregoing.

4.     ABF-West Opex means the entity doing business under the name ABF-West Opex,
       including parents, subsidiaries, affiliates, predecessors, successors, officers, directors,
       employees, agents, general partners, limited partners, partnerships and aliases, code
       names, or trade or business names used by any of the foregoing.

5.     “Chinese Bond” means bonds issued by China (including, but not limited to, the Republic
       of China) between 1900 and 1949.

6.     “Person” means a natural person, firm, association, organization, partnership, business,
       trust, corporation, bank or any other private or public entity.

7.     A “Representative” of a Person means any present or former family members, officers,
       executives, partners, joint-venturers, directors, trustees, employees, consultants,
       accountants, attorneys, agents, or any other representative acting or purporting to act on
       behalf of the Person.

8.     “Jonna Bianco” means (i) Jonna Bianco, and/or (ii) any present or former representative
       of Jonna Bianco.
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9.      “Document” shall include, but is not limited to, any written, printed, or typed matter
        including, but not limited to all drafts and copies bearing notations or marks not found in
        the original, letters and correspondence, interoffice communications, slips, tickets,
        records, worksheets, financial records, accounting documents, bookkeeping documents,
        memoranda, reports, manuals, telephone logs, facsimiles, messages of any type,
        telephone messages, text messages, voice mails, tape recordings, notices, instructions,
        minutes, summaries, notes of meetings, file folder markings, and any other organizational
        indicia, purchase orders, information recorded by photographic process, including
        microfilm and microfiche, computer printouts, spreadsheets, and other electronically
        stored information, including but not limited to writings, drawings, graphs, charts,
        photographs, sound recordings, images, and other data or data compilations that are
        stored in any medium from which information can be retrieved, obtained, manipulated, or
        translated.

10.     “Communication” means any correspondence, contact, discussion, e-mail, instant
        message, or any other kind of oral or written exchange or transmission of information (in
        the form of facts, ideas, inquiries, or otherwise) and any response thereto between two or
        more Persons or entities, including, without limitation, all telephone conversations, face-
        to-face meetings or conversations, internal or external discussions, or exchanges of a
        Document or Documents.

11.     “Concerning” means directly or indirectly, in whole or in part, describing, constituting,
        evidencing, recording, evaluating, substantiating, concerning, referring to, alluding to, in
        connection with, commenting on, relating to, regarding, discussing, showing, describing,
        analyzing or reflecting.

12.     An “Agreement” means any actual or contemplated (i) written or oral Agreement; (ii)
        term or provision of such Agreement; or (iii) amendment of any nature or termination of
        such Agreement. A request for any Agreement among or between specified parties
        includes a request for all Documents Concerning (i) any actual or contemplated
        Agreement among or between such parties, whether or not such Agreement included any
        other Person; (ii) the drafting or negotiation of any such Agreement; (iii) any actual or
        contemplated demand, request or application for any such Agreement, and any response
        thereto; and (iv) any actual or contemplated objection or refusal to enter into any such
        Agreement, and any response thereto.

13.     The term “Reviewed” means examined, assessed, considered, analyzed or evaluated.

14.     The term “you” and “your” means the Person to whom or entity to which this subpoena
        was issued.




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15.     To the extent necessary to bring within the scope of this this subpoena any information or
        Documents that might otherwise be construed to be outside its scope:
        a.     the word “or” means “and/or”;
        b.     the word “and” means “and/or”;
        c.     the functional words “each,” “every” “any” and “all” shall each be deemed to
               include each of the other functional words;
        d.     the masculine gender includes the female gender and the female gender includes
               the masculine gender; and
        e.     the singular includes the plural and the plural includes the singular.

16.     “Relevant Period” means the time period beginning January 1, 2013, and continuing to
        the present, unless otherwise specified.

                                           Instructions

1.      Unless otherwise specified, this subpoena calls for production of the original Documents
        and all copies and drafts of same. Documents responsive to this subpoena may be in
        electronic or paper form. Electronic Documents such as email should be produced in
        accordance with the attached Document entitled SEC Data Delivery Standards. All
        responsive electronic Documents, including all metadata, should also be produced in their
        native software format.

2.      For Documents in paper format, you may send the originals, or, if you prefer, you may
        send copies of the originals. The Commission cannot reimburse you for the copying
        costs. If you are sending copies, the staff requests that you scan (rather than photocopy)
        hard copy Documents and produce them in an electronic format consistent with the SEC
        Data Delivery Standards. Alternatively, you may send us photocopies of the Documents
        in paper format. If you choose to send copies, you must secure and retain the originals
        and store them in a safe place. The staff may later request or require that you produce the
        originals.

3.      Whether you scan or photocopy Documents, the copies must be identical to the originals,
        including even faint marks or print. Also, please note that if copies of a Document differ
        in any way, they are considered separate Documents and you must send each one. For
        example, if you have two copies of the same letter, but only one of them has handwritten
        notes on it, you must send both the clean copy and the one with notes.

4.      In producing a photocopy of an original Document that contains post-it(s), notation
        flag(s), or other removable markings or attachments which may conceal all or a portion
        of the markings contained in the original Document, photocopies of the original
        Document both with and without the relevant post-it(s), notation flag(s), or removable
        markings or attachments should be produced.




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5.       Documents should be produced as they are kept in the ordinary course of business or be
         organized and labeled to correspond with the categories in this request. In that regard,
         Documents should be produced in a unitized manner, i.e., delineated with staples or paper
         clips to identify the Document boundaries.

6.       Documents should be labeled with sequential numbering (bates-stamped).

7.       You must produce all Documents created during, or Concerning, the period from January
         1, 2013 to the date of this subpoena, unless otherwise specified.

8.       The scope of any given request should not be limited or narrowed based on the fact that it
         calls for Documents that are responsive to another request.

9.       You are not required to produce exact duplicates of any Documents that have been
         previously produced to the Securities and Exchange Commission staff in connection with
         this matter. If you are not producing Documents based upon a prior production, please
         identify the responsive Documents that were previously produced.

10.      For any Documents that qualify as records of regularly conducted activities under Federal
         Rule of Evidence 902(11), please complete a business records certification (a sample of
         which is enclosed) and return it with the Document production.

11.      This subpoena covers all Documents in or subject to your possession, custody or control,
         including all Documents that are not in your immediate possession but that you have the
         effective ability to obtain, that are responsive, in whole or in part, to any of the individual
         requests set forth below. If, for any reason – including a claim of attorney-client privilege
         – you do not produce something called for by the request, you should submit a list of
         what you are not producing. The list should describe each item separately, noting:

         a.     its author(s);
         b.     its date;
         c.     its subject matter;
         d.     the name of the Person who has the item now, or the last Person known to have it;
         e.     the names of everyone who ever had the item or a copy of it, and the names of
                everyone who was told the item’s contents;
         f.     the basis upon which you are not producing the responsive Document;
         g.     the specific request in the subpoena to which the Document relates;
         h.     the attorney(s) and the client(s) involved; and
         i.     in the case of the work product doctrine, the litigation for which the Document
                was prepared in anticipation.

12.      If Documents responsive to this subpoena no longer exist because they have been lost,
         discarded, or otherwise destroyed, you should identify such Documents and give the date
         on which they were lost, discarded or destroyed.




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                                    Documents to be Produced

1.      Produce Documents sufficient to identify all entities with which ABF is or has been
        associated with since January 1, 2013 that have solicited or received investments, loans,
        or other deposits from third parties (including, but not limited to, the sale, purchase,
        transfer and/or deposit of Chinese Bonds). This request is limited to those entities for
        which you are or were an owner, partner, member, executive, manager, employee or a
        Representative of any kind. In lieu of producing documents, you may provide this
        information in the following format:

 Entity Name         Entity Mailing         Entity Phone           Entity E-Mail   Entity Website
                       Address                Number                 Address          Address




2.      For each investor, depositor, client and/or creditor of:

           a. American Bondholders Foundation, LLC;

           b. ABF Advisory, LLC;

           c. ABF Charities;

           d. ABF-West Opex; and

           e. Any other entity identified in response to Request #1

        Produce Documents sufficient to provide the following information: (i) name of
        investor/depositor/client/creditor; (ii) amount loaned/invested/ deposited; (ii) date of
        loan/investment/deposit; and (iii) number of Chinese Bonds held by or deposited with the
        entity (if applicable). In lieu of producing documents, you may provide this information
        in the following format:

American Bondholders Foundation, LLC
     Name              Amount                          Date              Number of Bonds
                                                                          (if applicable)




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ABF Advisory, LLC
     Name                   Amount                    Date            Number of Bonds
                                                                       (if applicable)




ABF Charities
     Name                   Amount                    Date            Number of Bonds
                                                                       (if applicable)




ABF-West Opex
    Name                    Amount                    Date            Number of Bonds
                                                                       (if applicable)




[Repeat for Additional Entities Responsive to Request #2]
     Name                Amount                  Date                 Number of Bonds
                                                                       (if applicable)




3.      Produce Documents sufficient to provide contact information (mailing address, phone
        number and e-mail address) for each investor, depositor, client and/or creditor responsive
        to Request #2. In lieu of producing documents, you may provide this information in the
        following format:

       Name             Mailing Address         Phone Number           E-Mail Address




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4.      Produce Documents sufficient to identify the use of the funds responsive to Request #2
        (i.e., the use of the amounts loaned, invested and/or deposited with each entity). In lieu of
        producing documents, you may provide this information in the following format. Note: if
        you choose to provide information in the following table format, it is not sufficient to
        simply state that funds were used “to conduct the business of American Bondholders
        Foundation, LLC” or “to promote/secure payment on Chinese bonds” or similar general
        statement. Rather, you must describe or explain the use of funds – for example, “Salary,”
        “Travel,” “Legal Fees,” etc.

American Bondholders Foundation, LLC
     Date              Amount        How Funds Were                    Recipient of Funds
                                          Used



ABF Advisory, LLC
     Date                    Amount             How Funds Were         Recipient of Funds
                                                     Used



ABF Charities
     Date                    Amount             How Funds Were         Recipient of Funds
                                                     Used



ABF-West Opex
     Date                    Amount             How Funds Were         Recipient of Funds
                                                     Used



[Repeat for Additional Entities Responsive to Request #2]
      Date               Amount            How Funds Were              Recipient of Funds
                                                 Used




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5.      For each Chinese Bond within the possession, custody or control of:

           a. American Bondholders Foundation, LLC;

           b. ABF Advisory, LLC;

           c. ABF Charities;

           d. ABF-West Opex;

           e. Jonna Bianco; and/or

           f. Any other entity identified in response to Request #1

        Produce Documents sufficient to establish the existence and location of each bond.


6.      Produce Documents sufficient to identify all bank and brokerage accounts used by the
        following persons or entities at any point since January 1, 2013:

           a. American Bondholders Foundation, LLC;

           b. ABF Advisory, LLC;

           c. ABF Charities;

           d. ABF-West Opex;

           e. Jonna Bianco; and/or

           f. Any other entity identified in response to Request #1.

        In lieu of producing documents, you may provide this information in the following
        format:

     Bank Name         Account Number             Name of
                                               Account Holder




7.      For each bank account and brokerage account responsive to Request #6, produce all
        account statements (including, but not limited to, any monthly, quarterly, and annual
        account statements) for the time period of January 1, 2013 to the present.


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8.      For the time period of January 1, 2013 to the present, produce Documents sufficient to
        identify all commissions, finder’s fees or other compensation paid to any of the following
        persons or entities:

           a. American Bondholders Foundation, LLC;

           b. ABF Advisory, LLC;

           c. ABF Charities;

           d. ABF-West Opex;

           e. Jonna Bianco; and/or

           f. Any other entity identified in response to Request #1.


9.      For the time period of January 1, 2013 to the present, produce Documents sufficient to
        identify all commissions, finder’s fees or other compensation paid by any of the
        following persons or entities:

           a. American Bondholders Foundation, LLC;

           b. ABF Advisory, LLC;

           c. ABF Charities;

           d. ABF-West Opex;

           e. Jonna Bianco; and/or

           f. Any other entity identified in response to Request #1.




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10.      For the time period of January 1, 2013 to the present, produce all tax returns, Forms W-2,
         Forms 1099, audited or unaudited financial statements, and Quickbooks or other
         accounting records for each of the following:

            a. American Bondholders Foundation, LLC;

            b. ABF Advisory, LLC;

            c. ABF Charities;

            d. ABF-West Opex;

            e. Jonna Bianco; and/or

            f. Any other entity identified in response to Request #1.


11.      Produce all Communications (including, but not limited to, e-mails) with any investor,
         depositor, client and/or creditor responsive to Request #2.


12.      Produce all Documents sent to or received from any investor, depositor, client and/or
         creditor responsive to Request #2. This request includes, but is not limited to, Account
         Statements, Marketing Materials, Escrow Agreements, Power of Attorney Agreements,
         Private Placement Memoranda, Non-Disclosure Agreements, Confidentiality
         Agreements, Bondholder Agreements, Bond Purchase Agreements, Investor
         Questionnaires, Answers to Investor Questionnaires, Investor Updates, etc.


13.      Produce all Communications (including, but not limited to, e-mails) with any
         Representative of the People’s Republic of China.


14.      Produce all Documents sent to or received from any Representative of the People’s
         Republic of China. This request includes, but is not limited to, any Agreements,
         memoranda of understanding or similar documents related to Chinese Bonds.


15.      Produce all Communications (including, but not limited to, e-mails) with Representatives
         of the country of Greece. This request includes, but is not limited to, all Communications
         with Representatives of the Central Bank of Greece.




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16.      Produce all Documents sent to or received from Representatives of the country of Greece
         (including, but not limited to, Representatives of the Central Bank of Greece). This
         request includes, but is not limited to, any Agreement, memoranda of understanding or
         similar documents related to Chinese Bonds.


17.      Produce all Communications (including, but not limited to, e-mails) with any
         Representative of the United States of America related to Chinese Bonds.


18.      Produce all Documents sent to or received from any Representative of the United States
         of America related to Chinese Bonds.


19.      For tax years 2013 to the present, provide all forms you filed with the United States
         Internal Revenue Service, including, but not limited to, IRS Tax Form 1040s (including
         all schedules and attachments thereto).




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         DECLARATION OF JONNA BIANCO CERTIFYING RECORDS
            OF REGULARLY CONDUCTED BUSINESS ACTIVITY

   I, the undersigned, Jonna Bianco, pursuant to 28 U.S.C. § 1746, declare that:

1. I am __________________________ [Insert Title] of American Bondholders
   Foundation, LLC and I have personal knowledge of the company’s recordkeeping
   practices. In light of that knowledge and my position with the company, I am authorized
   and qualified to make this declaration.

2. I further certify that the documents submitted herewith are true copies of records that
   were:

           (a) made at or near the time of the occurrence of the matters set forth therein, by,
           or from information transmitted by, a person with knowledge of those matters;

           (b) kept in the course of regularly conducted business activity; and

           (c) made by the regularly conducted business activity as a regular practice.

   I declare under penalty of perjury that the foregoing is true and correct. Executed on
   ________________[Insert Date].



                                   ____________________________
                                      Jonna Bianco
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                                                                                    U.S. Securities and Exchange Commission

                                                                                                             Data Delivery Standards


    This document describes the technical requirements for paper and electronic document productions to the
    U.S. Securities and Exchange Commission (SEC). **Any questions or proposed file formats other than
    those described below must be discussed with the legal and technical staff of the SEC Division of
    Enforcement prior to submission.**

    General Instructions ..................................................................................................................................................................................1
    Delivery Formats ........................................................................................................................................................ 2
         I.     Concordance® Imaged Productions....................................................................................................................................................................................2
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    General Instructions

    Electronic files must be produced in their native format, i.e. the format in which they are ordinarily used and maintained during the
    normal course of business. For example, an MS Excel file must be produced as an MS Excel file rather than an image of a
    spreadsheet. (Note: An Adobe PDF file is not considered a native file unless the document was initially created as a PDF.)

    In the event produced files require the use of proprietary software not commonly found in the workplace, the SEC will explore
    other format options with the producing party.

    The proposed use of file de-duplication methodologies or computer-assisted review or technology-assisted review (TAR) during
    the processing of documents must be discussed with and approved by the legal and technical staff of the Division of
    Enforcement (ENF). If your production will be de-duplicated it is vital that you 1) preserve any unique metadata associated with
    the duplicate files, for example, custodian name, and, 2) make that unique metadata part of your production to the SEC.
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 General requirements for ALL document productions are:

     1.     A cover letter should be included with each production and include the following:
                 a. A list of each piece of media included in the production with its unique production volume number
                 b. A list of custodians, identifying the Bates range for each custodian.
                 c. The time zone in which the emails were standardized during conversion.
     2.     Data can be produced on CD, DVD, thumb drive, etc., using the media requiring the least number of deliverables and
            labeled with the following:
                 a. Case number
                 b. Production date
                 c. Producing party
                 d. Bates range
     3.     All submissions must be organized by custodian unless otherwise instructed.
     4.     All document family groups, i.e. email attachments, embedded files, etc., should be produced together and children files
            should follow parent files sequentially in the Bates numbering.
     5.     All load-ready collections should include only one data load file and one image pointer file.
     6.     All load-ready text must be produced as separate text files.
     7.     All load-ready collections should account for custodians in the custodian field.
     8.     Audio files should be separated from data files if both are included in the production.
     9.     Only alphanumeric characters and the underscore character are permitted in file names and folder names. Special characters
            are not permitted.
     10.    All electronic productions submitted on media must be produced using industry standard self-extracting encryption
            software.
     11.    Electronic productions may be submitted via Secure File Transfer. The SEC cannot accept productions made using file
            sharing sites.
     12.    Productions containing BSA or SARs material must be delivered on encrypted physical media. The SEC cannot accept
            electronic transmission of BSA or SARs material. Any BSA or SARs material produced should be segregated and
            appropriately marked as BSA or SARs material, or should be produced separately from other case related material.
     13.    Passwords for electronic documents, files, compressed archives and encrypted media must be provided separately either via
            email or in a separate cover letter from the media.
     14.    All electronic productions should be produced free of computer viruses.
     15.    Additional technical descriptions can be found in the addendum to this document.

           *Please note that productions sent to the SEC via United States Postal Service are subject to Mail Irradiation, and as a result
           electronic productions may be damaged.*


Delivery Formats

I.    Concordance® Imaged Productions
          The SEC prefers that all documents and data be produced in a structured format prepared for Concordance. All scanned
          paper and electronic file collections should be converted to TIFF files, Bates numbered, and include fully searchable text
          files.

      1.      Images
                 a.    Black and white images must be 300 DPI Group IV single-page TIFF files.
                 b.    Color images must be produced in JPEG format.
                 c.    File names cannot contain embedded spaces or special characters (including the comma).
                 d.    Folder names cannot contain embedded spaces or special characters (including the comma).
                 e.    All TIFF image files must have a unique file name, i.e. Bates number.
                 f.    Images must be endorsed with sequential Bates numbers in the lower right corner of each image.
                 g.    The number of TIFF files per folder should not exceed 500 files.
                 h.    Excel spreadsheets should have a placeholder image named by the Bates number of the file.
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                   i.   AUTOCAD/photograph files should be produced as a single page JPEG file.

       2.    Concordance Image® OR Opticon Cross-Reference File
             The image cross-reference file (.LOG or .OPT) links the images to the database records. It should be a comma-delimited
             file consisting of seven fields per line with a line in the cross-reference file for every image in the database with the
             following format:
                    ImageID,VolumeLabel,ImageFilePath,DocumentBreak,FolderBreak,BoxBreak,PageCount

       3.    Concordance® Data File
             The data file (.DAT) contains all of the fielded information that will be loaded into the Concordance® database.

             a.   The first line of the .DAT file must be a header row identifying the field names.
             b.   The .DAT file must use the following Concordance® default delimiters:
                      Comma ASCII character (020)
                      Quote þ ASCII character (254)
             c.   Date fields should be provided in the format: mm/dd/yyyy
             d.   Date and time fields must be two separate fields.
             e.   If the production includes imaged emails and attachments, the attachment fields must be included to preserve the
                  parent/child relationship between an email and its attachments.
             f.   An OCRPATH field must be included to provide the file path and name of the extracted text file on the produced
                  storage media. The text file must be named after the FIRSTBATES. Do not include the text in the .DAT file.
             g.   For productions with native files, a LINK field must be included to provide the file path and name of the native file
                  on the produced storage media. The native file must be named after the FIRSTBATES.
             h.   BEGATTACH and ENDATTACH fields must be two separate fields.
             i.   A complete list of metadata fields is available in Addendum A to this document.

       4. Text
          Text must be produced as separate text files, not as fields within the .DAT file. The full path to the text file (OCRPATH)
          should be included in the .DAT file. We require document level ANSI text files, named per the FIRSTBATES/Image Key.
          Please note in the cover letter if any non-ANSI text files are included in the production. Extracted text files must be in a
          separate folder, and the number of text files per folder should not exceed 1,000 files. There should be no special characters
          (including commas in the folder names). For redacted documents, provide the full text for the redacted version.

        5.    Linked Native Files
              Copies of original email and native file documents/attachments must be included for all electronic productions.
              a. Native file documents must be named per the FIRSTBATES number.
              b. The full path of the native file must be provided in the .DAT file for the LINK field.
              c. The number of native files per folder should not exceed 1,000 files.

II.     Native File Production without Load Files
        With prior approval, native files may be produced without load files. The native files must be produced as they are
        maintained in the normal course of business and organized by custodian-named file folders. When approved, Outlook (.PST)
        and Lotus Notes (.NSF) email files may be produced in native file format. A separate folder should be provided for each
        custodian.

III.    Adobe PDF File Production
        With prior approval, Adobe PDF files may be produced in native file format.
           1. PDF files should be produced in separate folders named by the custodian. The folders should not contain any
               special characters (including commas).
           2. All PDFs must be unitized at the document level, i.e., each PDF must represent a discrete document.
           3. All PDF files must contain embedded text that includes all discernible words within the document, not selected text
               or image only. This requires all layers of the PDF to be flattened first.
           4. If PDF files are Bates endorsed, the PDF files must be named by the Bates range.




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IV. Audio Files
    Audio files from telephone recording systems must be produced in a format that is playable using Microsoft Windows
    Media Player™. Additionally, the call information (metadata) related to each audio recording MUST be provided. The
    metadata file must be produced in a delimited text format. Field names must be included in the first row of the text file.
    The metadata must include, at a minimum, the following fields:
           1)   Caller Name:          Caller’s name or account/identification number
           2)   Originating Number:   Caller’s phone number
           3)   Called Party Name:    Called party’s name
           4)   Terminating Number:   Called party’s phone number
           5)   Date:                 Date of call
           6)   Time:                 Time of call
           7)   Filename:             Filename of audio file

V.    Video Files
      Video files must be produced in a format that is playable using Microsoft Windows Media Player™.

VI.   Electronic Trade and Bank Records
      When producing electronic trade and bank records, provide the files in one of the following formats:

      1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
           separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
           a separate document must be provided that includes such details.

      2.   Delimited text file with header information detailing the field structure. The preferred delimiter is a vertical bar “|”. If
           any special codes exist in the dataset, a separate document must be provided that details all such codes. If details of the
           field structure do not fit in the header, a separate document must be provided that includes such details.

 VII. Electronic Phone Records
      When producing electronic phone records, provide the files in the following format:

      1.   MS Excel spreadsheet with header information detailing the field structure. If any special codes exist in the dataset, a
           separate document must be provided that details all such codes. If details of the field structure do not fit in the header,
           a separate document must be provided that includes such details. Data must be formatted in its native format (i.e.
           dates in a date format, numbers in an appropriate numerical format, and numbers with leading zeroes as text).
               a. The metadata that must be included is outlined in Addendum B of this document. Each field of data must be
                     loaded into a separate column. For example, Date and Start_Time must be produced in separate columns and
                     not combined into a single column containing both pieces of information. Any fields of data that are provided
                     in addition to those listed in Addendum B must also be loaded into separate columns.

 VIII. Audit Workpapers
     The SEC prefers for workpapers to be produced in two formats: (1) With Bates numbers in accordance with the SEC Data
     Delivery Standards; and (2) in native format or if proprietary software was used, on a standalone laptop with the appropriate
     software loaded so that the workpapers may be reviewed as they would have been maintained in the ordinary course of
     business. When possible, the laptop should be configured to enable a Virtual Machine (VM) environment.




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                                                     ADDENDUM A


The metadata of electronic document collections should be extracted and provided in a .DAT file using the field definition and
formatting described below:


         Field Name            Sample Data                     Description
         FIRSTBATES            EDC0000001                      First Bates number of native file document/email
         LASTBATES             EDC0000001                      Last Bates number of native file document/email
                                                               **The LASTBATES field should be populated
                                                                  for single page documents/emails.
         ATTACHRANGE           EDC0000001 - EDC0000015         Bates number of the first page of the parent
                                                               document to the Bates number of the last page of the
                                                               last attachment “child” document
         BEGATTACH             EDC0000001                      First Bates number of attachment range
         ENDATTACH             EDC0000015                      Last Bates number of attachment range
         PARENT_BATES          EDC0000001                      First Bates number of parent document/Email
                                                               **This PARENT_BATES field should be populated
                                                                  in each record representing an attachment “child”
                                                                  document
         CHILD_BATES           EDC0000002; EDC0000014          First Bates number of “child” attachment(s); can be
                                                               more than one Bates number listed depending on the
                                                               number of attachments
                                                               **The CHILD_BATES field should be populated in
                                                                  each record representing a “parent” document
         CUSTODIAN             Smith, John                     Email: Mailbox where the email resided
                                                               Native: Name of the individual or department from
                                                               whose files the document originated
         FROM                  John Smith                      Email: Sender
                                                               Native: Author(s) of document
                                                               **semi-colon should be used to separate multiple
                                                                 entries
         TO                    Coffman, Janice; LeeW           Recipient(s)
                               [mailto:LeeW@MSN.com]           **semi-colon should be used to separate multiple
                                                                 entries
         CC                    Frank Thompson [mailto:         Carbon copy recipient(s)
                               frank_Thompson@cdt.com]         **semi-colon should be used to separate multiple
                                                                 entries
         BCC                   John Cain                       Blind carbon copy recipient(s)
                                                               **semi-colon should be used to separate multiple
                                                                 entries
         SUBJECT               Board Meeting Minutes           Email: Subject line of the email
                                                               Native: Title of document (if available)
         FILE_NAME             BoardMeetingMinutes.docx        Native: Name of the original native file, including
                                                               extension
         DATE_SENT             10/12/2010                      Email: Date the email was sent
                                                               Native: (empty)
         TIME_SENT/TIME 07:05 PM GMT                           Email: Time the email was sent/ Time zone in which
         _ZONE                                                 the emails were standardized during conversion.
                                                               Native: (empty)
                                                               **This data must be a separate field and cannot be
                                                                 combined with the DATE_SENT field
         TIME_ZONE             GMT                             The time zone in which the emails were standardized
                                                               during conversion.
                                                               Email: Time zone
                                                               Native: (empty)
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         LINK                 D:\001\ EDC0000001.msg      Hyperlink to the email or native file document
                                                          **The linked file must be named per the
                                                             FIRSTBATES number
         MIME_TYPE            MSG                         The content type of an Email or native file document
                                                          as identified/extracted from the header
         FILE_EXTEN           MSG                         The file type extension representing the Email or
                                                          native file document; will vary depending on the
                                                          email format
         AUTHOR               John Smith                  Email: (empty)
                                                          Native: Author of the document
         DATE_CREATED         10/10/2010                  Email: (empty)
                                                          Native: Date the document was created
         TIME_CREATED         10:25 AM                    Email: (empty)
                                                          Native: Time the document was created
                                                          **This data must be a separate field and cannot be
                                                             combined with the DATE_CREATED field
         DATE_MOD             10/12/2010                  Email: (empty)
                                                          Native: Date the document was last modified
         TIME_MOD             07:00 PM                    Email: (empty)
                                                          Native: Time the document was last modified
                                                          **This data must be a separate field and cannot be
                                                             combined with the DATE_MOD field
         DATE_ACCESSD         10/12/2010                  Email: (empty)
                                                          Native: Date the document was last accessed
         TIME_ACCESSD         07:00 PM                    Email: (empty)
                                                          Native: Time the document was last accessed
                                                          **This data must be a separate field and cannot be
                                                             combined with the DATE_ACCESSD field
         PRINTED_DATE         10/12/2010                  Email: (empty)
                                                          Native: Date the document was last printed
         FILE_SIZE            5,952                       Size of native file document/email in KB
         PGCOUNT              1                           Number of pages in native file document/email
         PATH                 J:\Shared\SmithJ\October    Email: (empty)
                              Agenda.doc                  Native: Path where native file document was stored
                                                          including original file name.
         INTFILEPATH          Personal Folders\Deleted    Email: original location of email including original
                              Items\Board Meeting         file name.
                              Minutes.msg                 Native: (empty)
         INTMSGID             <000805c2c71b$75977050$cb   Email: Unique Message ID
                              8306d1@MSN>                 Native: (empty)
         MD5HASH              d131dd02c5e6eec4693d9a069   MD5 Hash value of the document.
                              8aff95c
                              2fcab58712467eab4004583eb
                              8fb7f89
         OCRPATH              TEXT/001/EDC0000001.txt     Path to extracted text of the native file




Sample Image Cross-Reference File:
           IMG0000001,,E:\001\IMG0000001.TIF,Y,,,
           IMG0000002,,E:\001\IMG0000002.TIF,,,,
           IMG0000003,,E:\001\IMG0000003.TIF,,,,
           IMG0000004,,E:\001\IMG0000004.TIF,Y,,,
           IMG0000005,,E:\001\IMG0000005.TIF,Y,,,
           IMG0000006,,E:\001\IMG0000006.TIF,,,,



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                                                       ADDENDUM B

For Electronic Phone Records, include the following fields in separate columns:
For Calls:
    1) Account Number
    2) Connection Date – Date the call was received or made
    3) Connection Time – Time call was received or made
    4) Seizure Time – Time it took for the call to be placed in seconds
    5) Originating Number – Phone that placed the call
    6) Terminating Number – Phone that received the call
    7) Elapsed Time – The length of time the call lasted, preferably in seconds
    8) End Time – The time the call ended
    9) Number Dialed – Actual number dialed
    10) IMEI Originating – Unique id to phone used to make call
    11) IMEI Terminating– Unique id to phone used to receive call
    12) IMSI Originating – Unique id to phone used to make call
    13) IMSI Terminating- Unique id to phone used to receive call
    14) Call Codes – Identify call direction or other routing information
    15) Time Zone – Time Zone in which the call was received or placed, if applicable


For Text messages:
    1) Account Number
    2) Connection Date – Date the text was received or made
    3) Connection Time – Time text was received or made
    4) Originating Number – Who placed the text
    5) Terminating Number – Who received the text
    6) IMEI Originating – Unique id to phone used to make text
    7) IMEI Terminating– Unique id to phone used to receive text
    8) IMSI Originating - Unique id to phone used to make text
    9) IMSI Terminating- Unique id to phone used to receive text
    10) Text Code – Identify text direction, or other text routing information
    11) Text Type Code – Type of text message (sent SMS, MMS, or other)
    12) Time Zone – Time Zone in which the call was received or placed, if applicable

For Mobile Data Usage:
    1) Account Number
    2) Connection Date – Date the data was received or made
    3) Connection Time – Time data was received or made
    4) Originating number – Number that used data
    5) IMEI Originating – Unique id of phone that used data
    6) IMSI Originating - Unique id of phone that used data
    7) Data or Data codes – Identify data direction, or other data routing information
    8) Time Zone – Time Zone in which the call was received or placed, if applicable




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                             SECURITIES AND EXCHANGE COMMISSION
                                      Washington, D.C. 20549

                       Supplemental Information for Persons Requested to Supply
                       Information Voluntarily or Directed to Supply Information
                                 Pursuant to a Commission Subpoena
A. False Statements and Documents
Section 1001 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed upon:
         [W]hoever, in any matter within the jurisdiction of the executive, legislative, or judicial branch of the Government
         of the United States, knowingly and willfully--
              (1) falsifies, conceals, or covers up by any trick, scheme, or device a material fact;
              (2) makes any materially false, fictitious, or fraudulent statement or representation; or
              (3) makes or uses any false writing or document knowing the same to contain any materially false,
              fictitious, or fraudulent statement or entry.

Section 1519 of Title 18 of the United States Code provides that fines and terms of imprisonment may be imposed upon:
         Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false entry in any
         record, document, or tangible object with the intent to impede, obstruct, or influence the investigation or proper
         administration of any matter within the jurisdiction of any department or agency of the United States . . ., or in
         relation to or contemplation of any such matter.
B. Testimony
If your testimony is taken, you should be aware of the following:
1.   Record. Your testimony will be transcribed by a reporter. If you desire to go off the record, please indicate this to the
     Commission employee taking your testimony, who will determine whether to grant your request. The reporter will not
     go off the record at your, or your counsel’s, direction.
2.   Counsel. You have the right to be accompanied, represented and advised by counsel of your choice. Your counsel
     may advise you before, during and after your testimony; question you briefly at the conclusion of your testimony to
     clarify any of the answers you give during testimony; and make summary notes during your testimony solely for your
     use. If you are accompanied by counsel, you may consult privately.
If you are not accompanied by counsel, please advise the Commission employee taking your testimony if, during the
testimony, you desire to be accompanied, represented and advised by counsel. Your testimony will be adjourned once to
afford you the opportunity to arrange to be so accompanied, represented or advised.
You may be represented by counsel who also represents other persons involved in the Commission’s investigation. This
multiple representation, however, presents a potential conflict of interest if one client’s interests are or may be adverse to
another’s. If you are represented by counsel who also represents other persons involved in the investigation, the
Commission will assume that you and counsel have discussed and resolved all issues concerning possible conflicts of
interest. The choice of counsel, and the responsibility for that choice, is yours.
3.   Transcript Availability. Rule 6 of the Commission’s Rules Relating to Investigations, 17 CFR 203.6, states:
     A person who has submitted documentary evidence or testimony in a formal investigative proceeding shall
     be entitled, upon written request, to procure a copy of his documentary evidence or a transcript of his
     testimony on payment of the appropriate fees: Provided, however, That in a nonpublic formal investigative
     proceeding the Commission may for good cause deny such request. In any event, any witness, upon
     proper identification, shall have the right to inspect the official transcript of the witness’ own testimony.
If you wish to purchase a copy of the transcript of your testimony, the reporter will provide you with a copy of the
appropriate form. Persons requested to supply information voluntarily will be allowed the rights provided by this rule.
4. Perjury. Section 1621 of Title 18 of the United States Code provides that fines and terms of imprisonment may be
imposed upon:
         Whoever--
              (1) having taken an oath before a competent tribunal, officer, or person, in any case in which a law of the
              United States authorizes an oath to be administered, that he will testify, declare, depose, or certify truly, or
              that any written testimony, declaration, deposition, or certificate by him subscribed, is true, willfully and
              contrary to such oath states or subscribes any material matter which he does not believe to be true; or

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             (2) in any declaration, certificate, verification, or statement under penalty of perjury as permitted under
             section 1746 of title 28, United States Code, willfully subscribes as true any material matter which he does
             not believe to be true.
5. Fifth Amendment and Voluntary Testimony. Information you give may be used against you in any federal, state,
local or foreign administrative, civil or criminal proceeding brought by the Commission or any other agency.
You may refuse, in accordance with the rights guaranteed to you by the Fifth Amendment to the Constitution of the
United States, to give any information that may tend to incriminate you.
If your testimony is not pursuant to subpoena, your appearance to testify is voluntary, you need not answer any question,
and you may leave whenever you wish. Your cooperation is, however, appreciated.
6. Formal Order Availability. If the Commission has issued a formal order of investigation, it will be shown to you during
your testimony, at your request. If you desire a copy of the formal order, please make your request in writing.
C. Submissions and Settlements
Rule 5(c) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(c), states:
         Persons who become involved in . . . investigations may, on their own initiative, submit a written
         statement to the Commission setting forth their interests and position in regard to the subject matter of
         the investigation. Upon request, the staff, in its discretion, may advise such persons of the general
         nature of the investigation, including the indicated violations as they pertain to them, and the amount of
         time that may be available for preparing and submitting a statement prior to the presentation of a staff
         recommendation to the Commission for the commencement of an administrative or injunction
         proceeding. Submissions by interested persons should be forwarded to the appropriate Division
         Director or Regional Director with a copy to the staff members conducting the investigation and should
         be clearly referenced to the specific investigation to which they relate. In the event a recommendation
         for the commencement of an enforcement proceeding is presented by the staff, any submissions by
         interested persons will be forwarded to the Commission in conjunction with the staff memorandum.
The staff of the Commission routinely seeks to introduce submissions made pursuant to Rule 5(c) as evidence in
Commission enforcement proceedings, when the staff deems appropriate.
Rule 5(f) of the Commission’s Rules on Informal and Other Procedures, 17 CFR 202.5(f), states:
         In the course of the Commission’s investigations, civil lawsuits, and administrative proceedings, the
         staff, with appropriate authorization, may discuss with persons involved the disposition of such matters
         by consent, by settlement, or in some other manner. It is the policy of the Commission, however, that
         the disposition of any such matter may not, expressly or impliedly, extend to any criminal charges that
         have been, or may be, brought against any such person or any recommendation with respect thereto.
         Accordingly, any person involved in an enforcement matter before the Commission who consents, or
         agrees to consent, to any judgment or order does so solely for the purpose of resolving the claims
         against him in that investigative, civil, or administrative matter and not for the purpose of resolving any
         criminal charges that have been, or might be, brought against him. This policy reflects the fact that
         neither the Commission nor its staff has the authority or responsibility for instituting, conducting,
         settling, or otherwise disposing of criminal proceedings. That authority and responsibility are vested in
         the Attorney General and representatives of the Department of Justice.
D. Freedom of Information Act
The Freedom of Information Act, 5 U.S.C. 552 (the “FOIA”), generally provides for disclosure of information to the public.
Rule 83 of the Commission’s Rules on Information and Requests, 17 CFR 200.83, provides a procedure by which a
person can make a written request that information submitted to the Commission not be disclosed under the FOIA. That
rule states that no determination as to the validity of such a request will be made until a request for disclosure of the
information under the FOIA is received. Accordingly, no response to a request that information not be disclosed under
the FOIA is necessary or will be given until a request for disclosure under the FOIA is received. If you desire an
acknowledgment of receipt of your written request that information not be disclosed under the FOIA, please provide a
duplicate request, together with a stamped, self-addressed envelope.
E. Authority for Solicitation of Information
Persons Directed to Supply Information Pursuant to Subpoena. The authority for requiring production of information is
set forth in the subpoena. Disclosure of the information to the Commission is mandatory, subject to the valid assertion of
any legal right or privilege you might have.
Persons Requested to Supply Information Voluntarily. One or more of the following provisions authorizes the
Commission to solicit the information requested: Sections 19 and/or 20 of the Securities Act of 1933; Section 21 of the
Securities Exchange Act of 1934; Section 321 of the Trust Indenture Act of 1939; Section 42 of the Investment Company
Act of 1940; Section 209 of the Investment Advisers Act of 1940; and 17 CFR 202.5. Disclosure of the requested
information to the Commission is voluntary on your part.
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F. Effect of Not Supplying Information
Persons Directed to Supply Information Pursuant to Subpoena. If you fail to comply with the subpoena, the Commission
may seek a court order requiring you to do so. If such an order is obtained and you thereafter fail to supply the
information, you may be subject to civil and/or criminal sanctions for contempt of court. In addition, Section 21(c) of the
Securities Exchange Act of 1934, Section 42(c) of the Investment Company Act of 1940, and Section 209(c) of the
Investment Advisers Act of 1940 provide that fines and terms of imprisonment may be imposed upon any person who
shall, without just cause, fail or refuse to attend and testify or to answer any lawful inquiry, or to produce books, papers,
correspondence, memoranda, and other records in compliance with the subpoena.
Persons Requested to Supply Information Voluntarily. There are no direct sanctions and thus no direct effects for failing
to provide all or any part of the requested information.
G. Principal Uses of Information
The Commission’s principal purpose in soliciting the information is to gather facts in order to determine whether any
person has violated, is violating, or is about to violate any provision of the federal securities laws or rules for which the
Commission has enforcement authority, such as rules of securities exchanges and the rules of the Municipal Securities
Rulemaking Board. Facts developed may, however, constitute violations of other laws or rules. Information provided may
be used in Commission and other agency enforcement proceedings. Unless the Commission or its staff explicitly agrees
to the contrary in writing, you should not assume that the Commission or its staff acquiesces in, accedes to, or concurs
or agrees with, any position, condition, request, reservation of right, understanding, or any other statement that purports,
or may be deemed, to be or to reflect a limitation upon the Commission’s receipt, use, disposition, transfer, or retention,
in accordance with applicable law, of information provided.
H. Routine Uses of Information
The Commission often makes its files available to other governmental agencies, particularly United States Attorneys and
state prosecutors. There is a likelihood that information supplied by you will be made available to such agencies where
appropriate. Whether or not the Commission makes its files available to other governmental agencies is, in general, a
confidential matter between the Commission and such other governmental agencies.
Set forth below is a list of the routine uses which may be made of the information furnished.
1. To appropriate agencies, entities, and persons when (a) it is suspected or confirmed that the security or confidentiality
of information in the system of records has been compromised; (b) the SEC has determined that, as a result of the
suspected or confirmed compromise, there is a risk of harm to economic or property interests, identity theft or fraud, or
harm to the security or integrity of this system or other systems or programs (whether maintained by the SEC or another
agency or entity) that rely upon the compromised information; and (c) the disclosure made to such agencies, entities,
and persons is reasonably necessary to assist in connection with the SEC’s efforts to respond to the suspected or
confirmed compromise and prevent, minimize, or remedy such harm.
2. To other federal, state, local, or foreign law enforcement agencies; securities self-regulatory organizations; and
foreign financial regulatory authorities to assist in or coordinate regulatory or law enforcement activities with the SEC.
3. To national securities exchanges and national securities associations that are registered with the SEC, the Municipal
Securities Rulemaking Board; the Securities Investor Protection Corporation; the Public Company Accounting Oversight
Board; the federal banking authorities, including, but not limited to, the Board of Governors of the Federal Reserve
System, the Comptroller of the Currency, and the Federal Deposit Insurance Corporation; state securities regulatory
agencies or organizations; or regulatory authorities of a foreign government in connection with their regulatory or
enforcement responsibilities.
4. By SEC personnel for purposes of investigating possible violations of, or to conduct investigations authorized by, the
federal securities laws.
5. In any proceeding where the federal securities laws are in issue or in which the Commission, or past or present
members of its staff, is a party or otherwise involved in an official capacity.
6. In connection with proceedings by the Commission pursuant to Rule 102(e) of its Rules of Practice, 17 CFR
201.102(e).
7. To a bar association, state accountancy board, or other federal, state, local, or foreign licensing or oversight authority;
or professional association or self-regulatory authority to the extent that it performs similar functions (including the Public
Company Accounting Oversight Board) for investigations or possible disciplinary action.
8. To a federal, state, local, tribal, foreign, or international agency, if necessary to obtain information relevant to the
SEC’s decision concerning the hiring or retention of an employee; the issuance of a security clearance; the letting of a
contract; or the issuance of a license, grant, or other benefit.
9. To a federal, state, local, tribal, foreign, or international agency in response to its request for information concerning
the hiring or retention of an employee; the issuance of a security clearance; the reporting of an investigation of an


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employee; the letting of a contract; or the issuance of a license, grant, or other benefit by the requesting agency, to the
extent that the information is relevant and necessary to the requesting agency's decision on the matter.
10. To produce summary descriptive statistics and analytical studies, as a data source for management information, in
support of the function for which the records are collected and maintained or for related personnel management
functions or manpower studies; may also be used to respond to general requests for statistical information (without
personal identification of individuals) under the Freedom of Information Act.
11. To any trustee, receiver, master, special counsel, or other individual or entity that is appointed by a court of
competent jurisdiction, or as a result of an agreement between the parties in connection with litigation or administrative
proceedings involving allegations of violations of the federal securities laws (as defined in section 3(a)(47) of the
Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)) or pursuant to the Commission’s Rules of Practice, 17 CFR
201.100 – 900 or the Commission’s Rules of Fair Fund and Disgorgement Plans, 17 CFR 201.1100-1106, or otherwise,
where such trustee, receiver, master, special counsel, or other individual or entity is specifically designated to perform
particular functions with respect to, or as a result of, the pending action or proceeding or in connection with the
administration and enforcement by the Commission of the federal securities laws or the Commission’s Rules of Practice
or the Rules of Fair Fund and Disgorgement Plans.
12. To any persons during the course of any inquiry, examination, or investigation conducted by the SEC’s staff, or in
connection with civil litigation, if the staff has reason to believe that the person to whom the record is disclosed may have
further information about the matters related therein, and those matters appeared to be relevant at the time to the subject
matter of the inquiry.
13. To interns, grantees, experts, contractors, and others who have been engaged by the Commission to assist in the
performance of a service related to this system of records and who need access to the records for the purpose of
assisting the Commission in the efficient administration of its programs, including by performing clerical, stenographic, or
data analysis functions, or by reproduction of records by electronic or other means. Recipients of these records shall be
required to comply with the requirements of the Privacy Act of 1974, as amended, 5 U.S.C. 552a.
14. In reports published by the Commission pursuant to authority granted in the federal securities laws (as such term is
defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), which authority shall include,
but not be limited to, section 21(a) of the Securities Exchange Act of 1934, 15 U.S.C. 78u(a)).
15. To members of advisory committees that are created by the Commission or by Congress to render advice and
recommendations to the Commission or to Congress, to be used solely in connection with their official designated
functions.
16. To any person who is or has agreed to be subject to the Commission’s Rules of Conduct, 17 CFR 200.735-1 to
200.735-18, and who assists in the investigation by the Commission of possible violations of the federal securities laws
(as such term is defined in section 3(a)(47) of the Securities Exchange Act of 1934, 15 U.S.C. 78c(a)(47)), in the
preparation or conduct of enforcement actions brought by the Commission for such violations, or otherwise in connection
with the Commission’s enforcement or regulatory functions under the federal securities laws.
17. To a Congressional office from the record of an individual in response to an inquiry from the Congressional office
made at the request of that individual.
18. To members of Congress, the press, and the public in response to inquiries relating to particular Registrants and
their activities, and other matters under the Commission’s jurisdiction.
19. To prepare and publish information relating to violations of the federal securities laws as provided in 15 U.S.C.
78c(a)(47)), as amended.
20. To respond to subpoenas in any litigation or other proceeding.
21. To a trustee in bankruptcy.
22. To any governmental agency, governmental or private collection agent, consumer reporting agency or commercial
reporting agency, governmental or private employer of a debtor, or any other person, for collection, including collection
by administrative offset, federal salary offset, tax refund offset, or administrative wage garnishment, of amounts owed as
a result of Commission civil or administrative proceedings.

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Small Business Owners: The SEC always welcomes comments on how it can better assist small businesses. If you
would like more information, or have questions or comments about federal securities regulations as they affect small
businesses, please contact the Office of Small Business Policy, in the SEC’s Division of Corporation Finance, at 202-
551-3460. If you would prefer to comment to someone outside of the SEC, you can contact the Small Business
Regulatory Enforcement Ombudsman at http://www.sba.gov/ombudsman or toll free at 888-REG-FAIR. The
Ombudsman’s office receives comments from small businesses and annually evaluates federal agency enforcement
activities for their responsiveness to the special needs of small business.


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